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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION


Jeffrey Gray,

                        Plaintiff,

v.                                          Case No. 1:23-cv-463-MLB

City of Alpharetta, et al.,

                        Defendants.

________________________________/

                                 ORDER

     This case is REFERRED to Chief United States Magistrate Judge

Russell G. Vineyard for assignment to the next available United States

Magistrate Judge for mediation.             This case is STAYED pending

mediation. The Court DIRECTS the Clerk to ADMINISTRATIVELY

CLOSE this case during the period of the stay. Within seven (7) days of

the completion of the mediation, the parties shall report the outcome of

the mediation to the Court.

     SO ORDERED this 24th day of July, 2023.




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